Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 1 of 29 PageID #: 27554




                UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

CITY OF HUNTINGTON,
      Plaintiff,
v.                                       Civil Action No. 3:17-cv-01362
AMERISOURCE BERGEN DRUG
CORPORATION, et al.,
      Defendants.
______________________________________

CABELL COUNTY COMMISSION,
    Plaintiff,                           Consolidated case:
v.                                       Civil Action No. 3:17-cv-01665
AMERISOURCE BERGEN DRUG
CORPORATION, et al.,
    Defendants.




       PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
         DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
              ON PROXIMATE CAUSATION GROUNDS
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 2 of 29 PageID #: 27555




                                           TABLE OF CONTENTS

                                                                                                       Page Number

INTRODUCTION ........................................................................................................... 1
FACTUAL BACKGROUND: THE OPIOID EPIDEMIC IN HUNTINGTON AND
CABELL COUNTY ......................................................................................................... 2
SUMMARY JUDGMENT STANDARD ......................................................................... 4
ARGUMENT ................................................................................................................... 5
  Plaintiffs Have Raised Triable Issues of Fact with Respect to Causation for Their
  Public Nuisance Claims ............................................................................................... 5

    I.      The Standard for Causation under West Virginia Law ................................. 5

    II.     Defendants Failed to Maintain Effective Controls against the Diversion of
            Prescription Opioids ......................................................................................... 7

    III.    Defendants’ Failures Significantly Contributed to Massive Quantities of
            Opioids Flooding Huntington and Cabell County .......................................... 9

    IV.     The Massive Increase in Opioids Caused a Public Nuisance in Huntington
            and Cabell County .......................................................................................... 12

    V.      Alleged Intervening Acts Do Not Break the Chain of Causation ................ 18

CONCLUSION.............................................................................................................. 21




                                                              i
 Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 3 of 29 PageID #: 27556




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Aikens v. Debow,
   541 S.E.2d 576 (W.Va. 2001) ................................................................................................... 7

Anderson v. Liberty Lobby, Inc.,
   477 U.S. 242 (1986) .................................................................................................................. 4

BCS Servs., Inc. v. Heartwood 88,
  637 F.3d 750 (7th Cir. 2011) ..................................................................................................... 6

Brooke County Commission v. Purdue Pharma L.P., et al.,
   No. 17-C-248 (W.Va. Cir. Ct. Dec. 28, 2018) ................................................................ 2, 5, 20

City And County Of San Francisco, et al., v. Purdue Pharma L.P., et al.,
    3:18-cv-07591, Dkt. 285 (Sept. 30, 2020).......................................................... 1, 7, 16, 19, 21

City of Charleston, W. Virginia v. Joint Comm’n,
    2020 WL 4116952 (S.D.W. Va. July 20, 2020) ...................................................................... 21

City of Chicago v. Purdue Pharma, L.P.,
    211 F. Supp. 3d 1058 (N.D. Ill. 2016) ....................................................................................... 1

Com. v. Endo Health Solutions Inc.,
  2018 WL 3635765 (Ky. Cir. Ct. July 10, 2018) ........................................................................ 1

Commonwealth v. Purdue Pharma, L.P.,
  2019 WL 6497887 (Mass. Super. Nov. 6, 2019)....................................................................... 1

Direct Sales Co. v. United States,
   319 U.S. 703 (1943) ................................................................................................................ 20

Estate of Hough v. Estate of Hough,
   519 S.E.2d 640 (W.Va. 1999) ................................................................................................... 6

Everly v. Columbia Gas of W. Virginia, Inc.,
   171 W. Va. 534 (1982) .............................................................................................................. 5

Gillingham v. Stephenson,
    209 W. Va. 741 (2001) .............................................................................................................. 6

Gonzales v. Raich,
   545 U.S. 1 (2005) .................................................................................................................... 20



                                                                     ii
 Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 4 of 29 PageID #: 27557




Grewal v. Purdue Pharma L.P.,
   2018 WL 4829660 (N.J.Super.Ch. Oct. 02, 2018) .................................................................... 1

Hundall v. Mate Creek Trucking, Inc.,
   200 W.Va. 454, 490 (1997) ....................................................................................................... 5

Huskey v. Ethicon,
   2015 WL 4944339 (S.D.W. Va. Aug. 19, 2015) ....................................................................... 6

In re Flood Litigation,
    607 S.E.2d 863 (W.Va. 2004) ................................................................................................... 6

In re: Nat’l Prescription Opiate Litig.,
    1:17-md-02804, Dkt. 1203 (Dec. 19, 2018) .................................................................. 2, 19, 21

In re: Nat’l Prescription Opiate Litig.,
    1:17-md-02804, Dkt. 2561 (Sept. 3, 2019) ................................................... 1, 4, 12, 13, 16, 17

In re: Nat’l Prescription Opiate Litig.,
    1:17-md-02804, Dkt. 2483 (Aug. 19, 2019) ........................................................................ 7, 17

In re: Nat’l Prescription Opiate Litig.,
    1:17-md-02804, Dkt. 2580 (Aug. 19, 2019) ............................................................................ 19

In re: Nat’l Prescription Opiate Litig,
    927 F.3d 919 (6th Cir. 2019) ..................................................................................................... 2

In re Neurontin Mktg. & Sales Practices Litig. (Harden),
    712 F.3d 60 (1st Cir. 2013) ....................................................................................................... 9

Scottsdale Ins. Co. v. Lynnhaven Inlet Fishing Pier Corp.,
   113 F. App’x 526, 531 (4th Cir. 2004) .................................................................................... 12

Marcus v. Staubs,
  230 W. Va. 127 (2012) .............................................................................................................. 6

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,
   475 U.S. 574 (1986) .................................................................................................................. 4

Monongalia County, et al. v. Purdue Pharma L.P., et al.,
  Nos. 18-C-222-236 (W.Va. Mass. Lit. Panel Oct 9, 2019), ...................................................... 2

People v. ConAgra Grocery Products Co.,
   17 Cal.App.5th 51 (Cal. App. 2017) ....................................................................................... 16

Perry v. Melton,
   171 W. Va. 397 (1982) .............................................................................................................. 5




                                                                    iii
 Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 5 of 29 PageID #: 27558




Qura v. D.R. McClain & Son,
   97 F.3d 1448 (4th Cir. 1996) ..................................................................................................... 7

State ex rel. Morrisey v. AmerisourceBergen Drug Corp.,
    2014 WL 12814021 (W.Va. Boone Co. Cir. Ct. Dec. 12, 2014) ........................ 1, 5, 18, 20, 21

State v. Purdue Pharma Inc.,
    2018 WL 4566129 (N.H. Super. Sep. 18, 2018) ....................................................................... 1

State v. Purdue Pharma L.P.,
    2018 WL 4468439 (Alaska Super. July 12, 2018) .................................................................... 1

State v. Purdue Pharma L.P.,
    2019 WL 2331282 (Tenn. Cir. Ct. Feb. 22, 2019) .................................................................... 1

State, ex rel. Dewine v. Purdue Pharma L.P.,
    2018 WL 4080052 (Ohio Com.Pl. Aug. 22, 2018) ................................................................... 1

Sydenstricker v. Mohan,
   217 W. Va. 552 (2005) .............................................................................................................. 6

United States v. Moore,
   423 U.S. 122 (1975) ................................................................................................................ 20

Wehner v. Weinstein,
  191 W. Va. 149 (1994) .......................................................................................................... 5, 6

Federal Statutes

21 U.S.C. § 801 et seq ............................................................................................................... 7, 11

W. Va. C.S.R. § 15-2-5 ................................................................................................................... 7

W. Va. C.S.R. § 15-2-3 ................................................................................................................... 7

Rules

Fed. R. Civ. P. 56 ............................................................................................................................ 4




                                                                       iv
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 6 of 29 PageID #: 27559




                                   INTRODUCTION

       The evidence establishes, or at least creates a dispute of material fact, that

Defendants substantially contributed to the opioid epidemic in Huntington and

Cabell County. Defendants’ failures to prevent diversion of deadly drugs1 created an

over-supply of prescription opioids which led to dangerous and inappropriate licit

and illicit use of prescription and non-prescription opioids. Plaintiffs present several

categories of proof, each separately sufficient to establish causation. Evidence from

Defendants themselves establishes conduct expected to cause Plaintiffs’ public

nuisance. In such circumstances, issues of causation are left to the trier-of-fact.

       Defendants’ legal arguments have been rejected by the MDL court,2 the judge

overseeing the remanded bellwether case in the Northern District of California,3

and the vast majority of opioid litigation courts,4 including West Virginia state

courts.5 This Court should reach the same result here.


1 Separately, Plaintiffs’ experts have established that Defendants engaged in misleading,
deceptive, and fraudulent marketing conduct which also substantially contributed to opioid
over-supply and the public nuisance in Plaintiffs’ communities. See discussion infra, pp. 16-
17. This provides an additional, independent basis for denying Defendants’ motion here.
2 In re: Nat’l Prescription Opiate Litig., 1:17-md-02804, Dkt. 2561 (Sept. 3, 2019) (Att. as

Ex. 36)
3 City And County Of San Francisco, et al., v. Purdue Pharma L.P., et al., 3:18-cv-07591,

Dkt. 285 (Sept. 30, 2020) (Att. as Ex. 37).
4 See, e.g, Commonwealth v. Purdue Pharma, L.P., 2019 WL 6497887 (Mass. Super. Nov. 6,

2019); City of Chicago v. Purdue Pharma, L.P., 211 F. Supp. 3d 1058 (N.D. Ill. 2016);
Grewal v. Purdue Pharma L.P., 2018 WL 4829660 (N.J.Super.Ch. Oct. 02, 2018); Com. v.
Endo Health Solutions Inc., 2018 WL 3635765 (Ky. Cir. Ct. July 10, 2018); State v. Purdue
Pharma L.P., 2019 WL 2331282 (Tenn. Cir. Ct. Feb. 22, 2019); State v. Purdue Pharma
L.P., 2018 WL 4468439 (Alaska Super. July 12, 2018); State, ex rel. Dewine v. Purdue
Pharma L.P., 2018 WL 4080052 (Ohio Com.Pl. Aug. 22, 2018); State v. Purdue Pharma Inc.,
2018 WL 4566129 (N.H. Super. Sep. 18, 2018).
5 See, e.g., State ex rel. Morrisey v. AmerisourceBergen Drug Corp., No. 12-C-1412014, 2014

WL 12814021 (W.Va. Boone Co. Cir. Ct. Dec. 12, 2014), writ denied, State ex. rel.
AmerisourceBergen Drug Corp v. Thompson, No. 15-1026 (W.Va. January 5, 2016) (Att. as


                                             1
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 7 of 29 PageID #: 27560




  FACTUAL BACKGROUND: THE OPIOID EPIDEMIC IN HUNTINGTON
                  AND CABELL COUNTY

       As Judge Polster aptly observed in the MDL: “It is accurate to describe the

opioid epidemic as a man-made plague, twenty years in the making. The pain,

death, and heartache it has wrought cannot be overstated . . . .” In re: Nat’l

Prescription Opiate Litig., 1:17-md-02804, Dkt. 1203 at 38 (Dec. 19, 2018). The

Sixth Circuit has similarly observed that the opioid epidemic “affect[s] the health

and safety of the entire country . . . [and is] . . . certainly compelling.” In re: Nat’l

Prescription Opiate Litig, 927 F.3d 919, 923 (6th Cir. 2019) (citation omitted).

       Nowhere is the opioid epidemic more severe than in Huntington and Cabell

County, which are known as ground zero of the opioid crisis, and as the “overdose

capital of the world.” Ex. 1, Kolodny Rep. at 20; Ex. 2, Alexander Rep. at 9.

       Defendants caused an enormous quantity of opioids to flood into Plaintiffs’

jurisdictions. From 2006-2014, over 127 million opioid dosage units and 3.3 billion

morphine milligram equivalents (“MME”) were sent into Cabell County. Ex. 3,

McCann Rep. at 9. This is enough opioids for each resident in Cabell County to

consume 142 dosage units or 3,650 MME per year. Id. Cabell County was, at times,

among the top 20 of the United States’ more than 3,000 counties in terms of dosage

units per capita. Ex. 4, Keller Rep. at 59. And, the pills distributed were



Ex. 13); Brooke County Commission v. Purdue Pharma, L.P., No. 17-C-248, p. 11 (W.Va.
Marshall Co. Cir. Ct. Dec. 28, 2018), writ denied, State ex rel. Cardinal Health v. Hummel,
No. 19-0210 (W.Va. June 4, 2019) (Att. as Ex. 14); Monongalia County, et al. v. Purdue
Pharma L.P., et al., Nos. 18-C-222-236 (W.Va. Mass. Lit. Panel Oct 9, 2019), writ denied,
State ex rel. AmerisourceBergen Drug Corp. v. Moats, 19-1051 (W.Va. January 30, 2020)
(Att. as Ex. 38).



                                              2
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 8 of 29 PageID #: 27561




disproportionally prescribed by a handful of local physicians, many of whom either

lost their license to practice medicine or were criminal charged. Id. at 19-56, 59

(“between five and nine prescribers—wrote upwards of 43% of all opioid dosage

units and 65% of MMEs”).

      As the volume of prescription opioids flooding into Plaintiffs’ communities

increased, so, too, did deaths. The data is shocking. Prescription opioid overdose

deaths in Cabell County nearly quadrupled from 2001 to 2017. Ex. 5, Keyes Rep. at

35. The Cabell County death rate from all opioids in 2018 was five times the rate

seen in 2006, and, in 2017 was over 10 times the national average. Id. at 34. In

2016, the opioid death rate was three times higher than the West Virginia average

as a whole, the highest out of any county in the state, and the second highest in the

nation. Ex. 6, Siegel Rep. at 10.

      Aside from opioid overdose and mortality, Cabell County has experienced

record level increases in community harms including neonatal abstinence

syndrome, emergency department visits, admissions for treatment, and non-medical

opioid use among adolescents. Ex. 5 at 38-40. As the Cabell County Commission

observed in 2017: “The dumping of millions of pain pills into our community has

spawned a public health and safety hazard to the residents of Cabell County,

devastated our families, hurt our economy, wasted our public resources and created

a generation of narcotic dependence.” 17-cv-01665, Dkt. 238-2. And, as Huntington’s

Fire Chief has stated: “It is horrendous . . . It’s a war zone for children. That’s all

they know growing up, is death and destruction.” Ex. 1 at 23. Cabell County’s EMS




                                            3
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 9 of 29 PageID #: 27562




director further described the devastation as: “Going into houses where the mothers

have overdosed and the kids are sitting there crying, wanting to know what [sic]

wrong with their mother . . . . [I]t absolutely destroyed this community.” Id.

      In the MDL, Defendants—responsible for over 90% of opioid shipments

nationwide—sought to escape any blame for causing this devastation, as they do

here. There, Judge Polster denied summary judgment, finding:

      [G]iven the massive increases in the supply of prescription opioids into
      the Track One Counties, combined with evidence that suggests a
      complete failure by the Distributors and Pharmacies to maintain
      effective controls against diversion, a factfinder could reasonably
      infer these failures were a substantial factor in producing the
      alleged harm suffered by Plaintiffs. Because Plaintiffs have
      presented evidence that shows they have suffered the sort of injury that
      would be an expected consequence of the alleged wrongful conduct,
      Plaintiffs have done enough to withstand summary judgment . . .

In re: Nat’l Prescription Opiate Litig., 1:17-md-02804, Dkt. 2561 at 5-6 (Sept. 3,

2019) (emphasis added) (Attached as Ex. 36). This Court is faced with an influx of

opioids and resulting harms which exceed that seen in the Case Track One (“CT1”)

jurisdictions, and should reach the same result here.

                      SUMMARY JUDGMENT STANDARD

      To obtain summary judgment, the moving party bears the burden to

demonstrate that there is no genuine issue as to any material fact. Fed. R. Civ. P.

56(a). The court will not “weigh the evidence and determine the truth of the matter .

. . ” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). Instead, the court will

draw any permissible inference in the light most favorable to the nonmoving party.

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574 (1986).




                                           4
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 10 of 29 PageID #: 27563




                                      ARGUMENT

Plaintiffs Have Raised Triable Issues of Fact with Respect to Causation for
                      Their Public Nuisance Claims

    I.   The Standard for Causation under West Virginia Law

         When multiple wrongdoers each contribute to a combined harm, all that is

required to show proximate cause is that the action of a tortfeasor “contributes in

any degree to the injury.” Wehner v. Weinstein, 191 W. Va. 149, 155 (1994); see also

Perry v. Melton, 171 W. Va. 397, 400 (1982) (“negligence must be a proximate or

contributing cause before liability is established”) (emphasis added).6 A plaintiff is

not required to show that defendant’s actions were the sole proximate cause, only

that they were a proximate cause. Everly v. Columbia Gas of W. Virginia, Inc., 171

W. Va. 534, 536 (1982). It is also clear that “in public nuisance claims, where

the welfare and safety of an entire community is at stake, the cause need

not be so proximate as in individual negligence cases.” Brooke County

Commission v. Purdue Pharma L.P. et al., No. 17-C-248 at 14 (W.Va. Cir. Ct. Dec.

28, 2018) (internal citations and quotations omitted, emphasis added) (Ex. 14).

         Moreover, under established proximate causation principles, “[i]f a particular

act might be expected to cause a particular result and, if that result has in fact




6 To be clear, some West Virginia courts have suggested that to be liable, the concurrent
wrongdoer should be a “substantial factor” in causing the harm. See State ex rel. Morrisey,
2014 WL 12814021, at *12 (“When several factors contribute to produce an injury, one
actor’s negligence will be considered a proximate cause of the harm if it was a substantial
factor in producing the injury.”) (quoting Hundall v. Mate Creek Trucking, Inc., 200 W.Va.
454, 490 (1997)). However, as explained below, Plaintiffs have also adequately met this
standard, which was applied by Judge Polster in rejecting Defendants’ motion for summary
judgment.


                                             5
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 11 of 29 PageID #: 27564




followed, the conclusion may be justified that the causal relation exists.”

Restatement (Second) of Torts § 433B, comment b (1965); see also Huskey v.

Ethicon, 2015 WL 4944339, at *6 (S.D.W. Va. Aug. 19, 2015), aff’d, 848 F.3d 151

(4th Cir. 2017) (same). Put differently, “[o]nce a plaintiff presents evidence that he

suffered the sort of injury that would be the expected consequence of the defendant’s

wrongful conduct, he has done enough to withstand summary judgment on the

ground of absence of causation.” BCS Servs., Inc. v. Heartwood 88, 637 F.3d 750,

758 (7th Cir. 2011) (J. Posner). This is particularly true where, as here, a plaintiff

shows a statutory violation: “The violation of the statute is rightly considered the

proximate cause of any injury which is a natural, probable, and anticipated

consequence of the nonobservance.” Gillingham v. Stephenson, 209 W. Va. 741, 748–

49 (2001) (quotation omitted). Judge Polster has found similarly. See Ex 36 at 5-6.

       An intervening act does not automatically vitiate proximate causation. In

West Virginia, “[a] tortfeasor whose negligence is a substantial factor in bringing

about injuries is not relieved from liability by the intervening acts of third persons if

those acts were reasonably foreseeable.” Marcus v. Staubs, 230 W. Va. 127, 139

(2012); see also In re Flood Litigation, 607 S.E.2d 863, 878 (W.Va. 2004) (same).

Even a deliberate illegal act does not cut off liability if it is foreseeable. Id.; see also

Estate of Hough v. Estate of Hough, 519 S.E.2d 640, 648 (W.Va. 1999). The burden

is on the Defendants to prove intervening cause. See Sydenstricker v. Mohan, 217

W. Va. 552, 559 & n.13 (2005). That burden requires a showing that the intervening

act “operate[s] independently of any other act.” Wehner, 191 W. Va. at 154–55.




                                              6
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 12 of 29 PageID #: 27565




       Ultimately, however, proximate cause is a question of fact. See Qura v. D.R.

McClain & Son, 97 F.3d 1448 (4th Cir. 1996); see also Aikens v. Debow, 541 S.E.2d

576, 580 (W.Va. 2001) (same). As explained below, Plaintiffs present several

categories of proof, each sufficient to establish that Defendants’ failures were a

foreseeable, contributing, and substantial factor in causing opioid over-supply in

Plaintiffs’ communities, which in turn led to massive opioid-related harms. This is

sufficient evidence to raise a disputed issue of material fact to be resolved at a trial.

II.   Defendants Failed to Maintain Effective Controls against the
      Diversion of Prescription Opioids

      Distributors of opioids are required under the federal CSA and West Virginia

law to design and operate systems to identify and report suspicious orders, and to

refrain from shipping such orders prior to investigation. See 21 U.S.C. §§ 801 et

seq.; 21 C.F.R. 1301 et seq.; W. Va. C.S.R. § 15-2-5.1.1, § 15-2-3. In CT1, Judge

Polster was “hard-pressed to think of a more basic requirement.” 17-md-02804, Dkt.

2483 at 19 (Aug. 19, 2019). In Case Track Two (“CT2”), Judge Breyer found

similarly. See City And County Of San Francisco, et al., v. Purdue Pharma L.P., et

al., 3:18-cv-07591, Dkt. 285 at 5-6 (Sept. 30, 2020) (Ex. 37).

      Substantial and undisputed evidence here shows that each Defendant

blatantly failed to comply with these duties. Defendants’ dereliction of their CSA

duties was staggering. One need only look at their own public admissions as well as

the numerous DEA investigations conducted against them. Cardinal, for example,

admitted in its May 2012 agreement with the DEA “that its due diligence efforts for

some pharmacy customers and its compliance with the 2008 MOA, in certain



                                            7
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 13 of 29 PageID #: 27566




respects, were inadequate.” Ex. 15 at 5984. Cardinal had also been issued numerous

DEA suspension orders in 2007 and 2008 as a result of its lax anti-diversion

practices. Ex. 16 at 00013056-3103.

      Similarly, in a January 2017 settlement with the DEA, McKesson

acknowledged that from 2009-2017 “it did not identify or report to DEA certain

orders placed by certain pharmacies which should have been detected by McKesson

as suspicious . . .” Ex. 17 at 5352. This came less than a decade after DEA and DOJ,

in 2008, punished McKesson for its flagrant noncompliance with the CSA. Ex. 18 at

0001048-1071. AmerisourceBergen (“ABDC”), too, was subject to DEA enforcement

actions for its filling and shipping of orders of controlled substances ABDC knew, or

should have known, to be suspicious. Ex. 19 at 00269383-9387.

      Defendants’ public admissions are corroborated by their actual diversion

practices and policies. It is undisputed, for example, that Cardinal did not have a

policy to stop shipment of suspicious orders at all until 2008, and from 2008-2011, it

reported only a few dozen suspicious orders per year. Ex. 20 at 2438.

      McKesson had a policy in place from 1997-2007, though its own employees

have acknowledged that this system did not flag true suspicious orders. Ex. 21 at

0747; Ex. 22 at 176:8-22. Even when McKesson implemented new “threshold”

measures, they were either set far too high to be triggered, or were increased

without adequate justification. Ex. 23 at 7799; Ex. 24 at 3455.

      ABDC’s pre-2007 policy entailed shipping all orders of controlled substances

it identified as suspicious before a due diligence investigation ever occurred. Ex. 25




                                           8
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 14 of 29 PageID #: 27567




at 281:14-282:8. Even after 2007, ABDC’s policies were arbitrary, ineffective, and

inconsistently implemented. Ex. 7, Rafalski Rep. at 121-122.

       As Plaintiffs’ expert James Rafalski opines, Defendants “each failed to

develop and implement a SOMS that would ensure the maintenance of effective

controls against diversion.” Id. at 8. The bottom line is that Defendants did not

want to comply with the CSA and WVCSA. Instead, the evidence demonstrates that

they buried their heads in the sand and made billions while their opioid products

poured into Plaintiffs’ communities.

III.   Defendants’ Failures Significantly Contributed to Massive Quantities
       of Opioids Flooding Huntington and Cabell County

       Plaintiffs offer considerable expert testimony, circumstantial evidence, and

admissions that Defendants’ anti-diversion failures led directly to an astonishingly

high percentage of suspicious orders shipped without proper investigation, which in

turn led to high amounts of opioid drugs flooding Plaintiffs’ communities. This

evidence is more than sufficient to raise a triable issue of fact. See In re Neurontin

Mktg. & Sales Practices Litig. (Harden), 712 F.3d 60, 68 (1st Cir. 2013)

(combination of expert evidence with circumstantial evidence is enough to create a

jury question on causation.).

       Mr. Rafalski, a controlled substances diversion prevention expert, assessed

Defendants’ SOM programs and identified their serious flaws with regard to the

maintenance of effective controls against diversion. Ex. 7 at 1. He describes six

different methodologies that could have been used, but were usually not, to identify

suspicious orders that should not have been shipped without further investigation.



                                           9
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 15 of 29 PageID #: 27568




Id. at 47-50. Rafalski concludes that most of the Oxycodone and Hydrocodone orders

in Huntington and Cabell County should have been flagged as suspicious. Id.

      For example, Rafalski details one Huntington pharmacy, “Safescript,” which

received the most opioid pills in Cabell County and was among the top five

purchasers of oxycodone in West Virginia. Id. at 110. ABDC was aware that it was

not a “usual pharmacy,” that it had “heavy security,” and had installed bulletproof

glass. Id. at 115. ABDC knew transactions were being conducted through a turnstile

where cash would go in and pills would come out. Id. However, ABDC continued to

send opioids to SafeScript unchecked until 2013. Id. at 111-114.

      Dr. Craig McCann, Plaintiffs’ expert economist, explains the deficiencies of

Defendants’ SOM programs and the magnitude of suspicious orders that would

have been identified had they been adequate. Specifically, Dr. McCann analyzed

ARCOS data to quantify estimates of the number of suspicious orders that were

distributed into Huntington and Cabell County. Ex. 3 at 57-77. Dr. McCann

concludes that between 74,014 to 195,831 orders of opioids shipped to Huntington

and Cabell County should have been flagged as suspicious by Defendants. Id.7

      Another of Plaintiffs’ experts, Lacey Keller, is a data-mining expert. In her

report, Keller establishes that Defendants had access to IQVIA Xponent data,

which, if utilized, would have identified suspicious prescribers in Huntington and

Cabell County who were issuing millions of opioid prescriptions, thousands of

transactions, millions of dosage units, and billions of MMEs. Ex. 4 at 59. The data


7Dr. McCann also details pharmacies near, but outside of, Cabell and Huntington, that
received numerous suspicious orders. See id. at App’x 9-10.


                                           10
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 16 of 29 PageID #: 27569




distributors had available to them—but which they failed to utilize—is shocking.

Keller details twelve Cabell County prescribers, many who were issuing 25 to 400

times the average amount of opioids for their specialty. Id. at 19-56. Many of these

prescribers ultimately had their licenses revoked, or were criminally charged. Id.

      The influx of suspicious opioid orders into Huntington and Cabell County as

a result of lax anti-diversion policies is exactly the result Congress intended to avoid

when enacting the CSA, and when DEA adopted its implementing regulations. As a

2007 letter from DEA to Defendants states: “even just one distributor that uses

its DEA registration to facilitate diversion can cause enormous harm.” Ex.

26 at 9687-9688 (citing 21 U.S.C. § 801(2)) (emphasis added).

      Defendants were certainly aware that unlawful shipments of opioids led to

diversion in West Virginia. Cardinal Health’s Director of Independent Retail Sales

acknowledged that more opioid pills in a community “may have” increased the

likelihood of diversion and abuse. Ex. 27 at 27:14-28:14.

      For its part, McKesson’s Vice President of Regulatory Affairs, Gary Boggs,

acknowledged that Distributors have great power to “control the supply to

downstream customers,” that “Compliance!!!” with regulatory requirements stops

diversion, and “major diversion schemes [will] wither away.” Ex. 28 at 7232, 7241.

McKesson’s Nate Hartle testified that “[u]sing common sense and basic logic, you

could assume the more pills that are out there, the more potential for diversion

there could be.” Ex. 29 at 268:8-15. Mr. Hartle was explicit on causation: diversion

“can happen if you don’t follow those laws.” Id. at 59:3-13. ABDC’s 30(b)(6) witness




                                          11
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 17 of 29 PageID #: 27570




admitted “if we don’t adhere to our effective controls to prevent diversion, yes,

diversion could occur.” Ex. 30 at 104:7-17.

      Thus, it was entirely foreseeable and foreseen by Defendants that failing to

employ sufficient SOM policies and shipping suspicious orders causes significant

diversion, leading to opioid abuse. As Plaintiffs experts establish, controls against

diversion— if used— would have worked. Instead, Defendants sat on their hands

while orders they knew to be suspicious poured into Huntington and Cabell County.

IV.   The Massive Increase in Opioids Caused a Public Nuisance in
      Huntington and Cabell County

      Defendants’ conduct and the resulting over-supply of opioids was a

substantial factor in producing the public nuisance in Huntington and Cabell

County. As discussed above, Judge Polster analyzed substantially similar evidence

under a substantially similar legal standard and found that Plaintiffs had

established genuine dispute of material fact with respect to causation. Ex. 36.

      Plaintiffs’ evidence here is even more compelling than it was in CT1.

Plaintiffs’ experts in epidemiology, healthcare, economics, and addiction science

marshal literature to show that over-supply of prescription opioids causally

correlates to an increased rate of overdose deaths and overdoses. Over-supply of

prescription opioids also causally correlates to an increase in the rates of heroin and

fentanyl use, which resulted in additional harms to Plaintiffs. Such expert evidence

is sufficient to establish material fact disputes at the summary judgment stage. See

Scottsdale Ins. Co. v. Lynnhaven Inlet Fishing Pier Corp., 113 F. App’x 526, 531 (4th

Cir. 2004).



                                          12
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 18 of 29 PageID #: 27571




      Reliable epidemiological data using a variety of study designs across

independent investigators and across geographic areas, show consistent,

statistically-significant, and strong associations between opioid supply and the

number of opioid-related overdoses and deaths in a region, all of which allow the

conclusion that the association is causal.

      Analyzing peer-reviewed medical literature, Plaintiffs’ expert and

epidemiologist Dr. Keyes opines that “[t]he driving force in increasing opioid-related

morbidity and mortality was, and continues to be, access to and wide-spread

availability of opioids.” Ex. 5, Keyes Rep. at 7. Keyes also attributes opioid over-

supply to other harms experienced by Huntington and Cabell County, including

emergency department visits, increased burden in the treatment and chemical

dependency provider system, instances of neonatal abstinence syndrome (NAS),

opioid use disorder and opioid use among medical users, non-medical users, adults

and adolescents. Id. Over-supply of prescription opioids are also causally related to

additional harms from opioids including transition to heroin addiction. Id.

      This data alone allows an inference of causation. As Judge Polster found:

“Katherine Keyes, an epidemiologist, reviewed dozens of studies and concluded that

increases in prescription opioids are causally related to increases in various opioid-

related harms. Based on this evidence, a jury could reasonably conclude that the

increases in prescription opioids proximately caused harm to Plaintiffs.” Ex. 36 at 5.

      Plaintiffs’ expert, Dr. Anna Lembke, a psychiatrist and addiction specialist,

describes how “[i]ncreased supply” of legally prescribed opioids, “contributed to




                                             13
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 19 of 29 PageID #: 27572




more diversion of prescription opioids” in Huntington and Cabell County. Ex. 8,

Lembke Rep. at 180. Dr. Lembke further found that “[t]he sheer scale of access to

opioids made possible through the distribution and supply chain, led individuals

who otherwise would never have been exposed, to use and subsequently be killed or

harmed by opioids.” Id. at 151. Dr. Lembke opines that that increases in the supply

of prescription opioids causes increases in the use of heroin. Id. at 131.

      Plaintiffs’ expert Dr. Corey Waller, an addiction specialist, explains the

“rising devastation paralleling the rising sales of Defendants’ Drugs,” and how the

opioid “epidemic was caused by a dramatic exposure to prescription opioids,

including primarily Defendants’ Drugs.” Ex. 35, Waller Rep. at 43, 56.

      Expert Dr. Andrew Kolodny attributes overdose deaths, neonatal opioid

withdrawal, impacts on family services, injection-related infectious diseases,

increased use of heroin and other illicit drugs, and an impact on the workforce in

the Plaintiffs’ communities, to over-supply of prescription opioids. Ex. 1 at 2.

Plaintiffs’ public health expert Dr. Daniel Cicarrone similarly opines that “increased

availability of prescription opioids has resulted in increased number of heroin users,

transitioning from opioid pill misuse to heroin use.” Ex. 9, Cicarrone Rep. at 10.

Such illicit use has led to other related harms including HIV and other infectious

diseases. Ex. 10, Feinberg Rep. at 5.

      Finally, Dr. Thomas McGuire quantifies the net economic costs relating to

deaths, morbidity, neonatal abstinence syndrome, crimes, property value loss, and




                                           14
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 20 of 29 PageID #: 27573




child maltreatment in Plaintiffs’ communities from 2006 to 2018. Ex. 11, McGuire

Rep. at 58. Dr. McGuire estimates costs to be in the billions of dollars. Id.

      The causal connection between opioid over-supply and diversion and these

problems is plainly logical and foreseeable. Defendants have admitted as much.

McKesson’s representative admitted that McKesson “played a role” in fueling the

opioid epidemic, and that opioid addiction is a direct gateway to illicit heroin use.

Ex. 29 at 292:19-293:4, 320:14-321:10. McKesson’s Director of Regulatory Affairs

admitted with respect to the opioid epidemic that “[w]e did play a role as a

distributor, yes.” Ex. 32 at 324:17-325:4. Cardinal Health too admitted that,

“[t]housands of deaths have been attributed to supply chain challenges.” Ex. 33 at

1297. ABDC’s 30(b)(6) witness also admitted “if we don’t adhere to our effective

controls to prevent diversion, yes, diversion could occur.” Ex. 30 at 104:7-17.

      Defendants expend the lion’s share of their motion parsing out different

strands of conduct that contributed to opioid crisis. Def. Mot. at 9 (“Legitimate

Prescribing”), 14 (“Illicit Prescribing or Dispensing), 15 (“Illegal, Non-Prescription

Opioids”). But as explained above, Plaintiffs allege the public nuisance is the opioids

crisis—a single, unified harm—to which defendants are each substantial

contributing factors. Instead, Defendants’ argument is related to the separate and

distinct issue of apportionment, if any, of the total cost of abatement, an issue not

raised by any of the pending motions before this Court. As Prosser and Keeton

explain:

      Once it is determined that the defendant’s conduct has been a cause of
      some damage suffered by the plaintiff, a further question may arise as



                                           15
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 21 of 29 PageID #: 27574




      to the portion of the total damage sustained which may properly be
      assigned to the defendant, as distinguished from other causes. The
      question is primarily not one of the fact of causation, but of the
      feasibility and practical convenience of splitting up the total
      harm into separate parts which may be attributed to each of two
      or more causes.

Prosser and Keeton, § 52, p. 345 (emphasis added); see also People v. ConAgra

Grocery Products Co., 17 Cal.App.5th 51, 108 (Cal. App. 2017) (same).

      Defendants also claim that they are immune from liability as a result of

prescribing standards at the time of their conduct. Def. Mot. at 9, 11-15. This too is

a fact question. In denying this exact argument in CT1, Judge Polster found:

      The Distributors . . . assert Plaintiffs have not shown their alleged
      injury resulted from the diversion of suspicious orders, as opposed to an
      increase in good faith prescriptions based on the Manufacturers’ alleged
      fraudulent marketing practices . . . This argument overlooks the fact
      that whether the alleged harm was caused by fraudulent
      marketing or ineffective controls, or a combination of both,
      involves questions of disputed facts for the jury to resolve.

Ex. 36 at 9 (emphasis added). And, as Judge Breyer recently stated in CT2 when

rejecting similar arguments: “both parties’ [Manufacturers and Distributors]

conduct allegedly caused the City’s injuries.” 3:18-cv-07591, Dkt. 285 at 79 (Ex. 37).

      Moreover, Distributors themselves contributed to misinformation campaigns

that downplayed the risk of opioid addiction to prescribers and altered the so-called

prevailing standard of care. Plaintiffs’ expert Dr. Kolodny details how Defendants

“used various marketing tools to promote opioid analgesics and the revisionist

message of liberalized prescribing that fostered sales and addiction.” Ex. 1 at 14.

Expert Dr. Jakki Mohr similarly opines that the Defendants “participated in an




                                          16
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 22 of 29 PageID #: 27575




integrated supply chain that collectively increased opioid sales over time through

various marketing efforts.” Ex. 12, Mohr Rep. at 4-5.

      Defendants also argue that had they actually conducted due diligence on

orders, many may have cleared investigation. Def. Mot. at 11-13. This is beside the

point. For the period in question, Defendants failed to maintain effective, or in some

cases any, controls to flag suspicious orders. Absent such controls, Defendants could

not lawfully ship any of these orders. Judge Polster held that the CSA requires due

diligence before shipping an order. 17-md-02804, Dkt. 2483. Accordingly, after-the-

fact evidence of what due diligence might have shown is inadmissible. See Ex. 34 at

30:3-32:13; 26:5-30:9 (Judge Polster excluding pharmacist testimony unless

pharmacist was consulted in connection with pre-shipping due diligence).

      Finally, Defendants argue that Plaintiffs have failed to identify specific

shipments which were then diverted into the black market, Def. Mot. at 14-15. As

explained above, there is no doubt that some of the suspicious orders Defendants

shipped were in fact diverted; it makes no difference which ones. Judge Polster

previously denied Defendants’ efforts to force individualized proof, observing that

“aggregate proof of causation [is] sufficient to overcome summary judgment.” Ex. 36

at 8. Like in CT1, Plaintiffs here proceed on the theory that details of individual

shipments are not relevant; rather, they will rely principally on experts and

circumstantial evidence to connect SOM deficiencies to the public nuisance.

      Thus, it is clear that the harms incurred by Plaintiffs were a direct result of

the over-supply into their jurisdictions. Plaintiffs have submitted sufficient evidence




                                          17
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 23 of 29 PageID #: 27576




to establish an issue of material fact with regard to Defendants’ role in causing this

epidemic. In telling moments in their depositions and their own internal documents,

Defendants have admitted as much. The MDL Court rejected identical arguments

to those Defendants make here, and this Court should do the same.

 V.   Alleged Intervening Acts Do Not Break the Chain of Causation

      Plaintiffs have demonstrated that Defendants’ unlawful distribution

practices led to a massive increase in opioid supply in the Plaintiffs’ jurisdictions,

which in turn led to devastating and unprecedented levels of harms.

      Defendants nevertheless argue that Plaintiffs’ claims are insufficiently direct

because intervening events or actions by third-parties or rogue criminal actors

break the chain of causation as a matter of law. Defendants are wrong.

      As explained above, (see discussion pp. 5-7) in West Virginia, foreseeability is

the “touchstone” of the proximate cause analysis. State ex rel. Morrisey v.

AmerisourceBergen Drug Corp., 2014 WL 12814021, at *2 (W.Va.Cir.Ct. Dec. 12,

2014) (Ex. 13). Accordingly, an allegedly “intervening act,” even an illegal act, does

not sever causation if it is foreseeable. (See discussion pp. 5-7). An intervening cause

must “operate independently of any other act” to break the chain of causation. Id.

      In an attempt to side-step West Virginia’s well-established “foreseeability”

standard for proximate cause, Defendants invoke Holmes’ “directness” test, arguing

that it precludes liability here. Def. Mot. at 3-4. Defendants cite no case which

stands for the proposition that Holmes’ three-pronged analysis is applicable to non-

RICO claims to the exclusion of clearly established state law causation standards.




                                           18
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 24 of 29 PageID #: 27577




See also (Ex. 37) (J. Breyer) (Applying Holmes to RICO claims (pp. 37-49), and

foreseeability standard to public nuisance claims (pp. 69-80)). But even if Holmes

departs from the relevant state law standard, and even if it does inform the

standard for non-RICO claims, Plaintiffs have adequately met that standard, as

Judge Polster correctly determined in the MDL with respect to plaintiffs’ RICO

claims. See 1:17-MD-2804, Dkts. 2561, 2580 (summary judgment), 1203 (motion to

dismiss).

      Plaintiffs’ harms were the foreseeable, expected (and even intended) result of

Defendants’ conduct. See Restatement (Third) of Torts § 33(b) (2010) (“An actor who

intentionally or recklessly causes harm is subject to liability for a broader range of

harms.”). Defendants do not even contest this fact, and for good reason. The flood of

pills into West Virginia was staggering. The sheer volume of pills Defendants sold

into Huntington and Cabell County, coupled with the lack effective mechanisms to

control that supply, made it foreseeable and inevitable that diversion, addiction,

misuse, criminal activity, overdose, and death would occur.

      Indeed, Defendants’ failures to implement controls on the supply chain is

deemed wrongful precisely because over-supply and diversion is expected to cause

serious harm to the general public. This is the entire reason Congress passed the

Controlled Substances Act. A 2007 letter from DEA to Defendants states that

“[their] responsibility is critical, as Congress has expressly declared that the illegal

distribution of controlled substances has a substantial and detrimental effect on the

health and general welfare of the American people . . . .” Ex. 26 at 9687-9688.




                                           19
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 25 of 29 PageID #: 27578




       Likewise, the Supreme Court has long recognized the inherent causal

relationship between opioid diversion and harm. Direct Sales Co. v. United States,

319 U.S. 703, 711 (1943) (“The difference between sugar, cans, and other articles . . .

on the one hand, and narcotic drugs . . . on the other, aris[es] from the latters’

inherent capacity for harm and from the very fact they are restricted . . . .”); United

States v. Moore , 423 U.S. 122, 135 (1975) (when enacting the CSA, “Congress was

particularly concerned with the diversion of drugs from legitimate channels to

illegitimate channels.”); Gonzales v. Raich, 545 U.S. 1, 12–13, (2005) (same).

       West Virginia state courts handling similar opioid litigation claims have

rejected the arguments Defendants make here. In Morrisey, 2014 WL 12814021

(2014) (Ex. 13), West Virginia brought claims against opioid distributors for nearly

the exact conduct and harms alleged here. Analyzing West Virginia law, the court

found that any alleged intervening acts were foreseeable to Defendants, and

therefore insufficient to cut off the chain of liability as a matter of law. Id. at *11-12.

       Similarly, in Brooke County, No. 17-C-248 (2018) (Ex. 14), the West Virginia

Circuit Court rejected distributor defendants proximate cause arguments, finding

that: “Defendants’ conduct was not too remote from the opioid epidemic—even

considering that third party conduct may have also contributed to the opioid

epidemic—and that the acts of third parties (even criminals) were foreseeable and

did not create a new effective cause or operative independently.” Id. at 12. (citing

Morrisey).




                                            20
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 26 of 29 PageID #: 27579




       And, as discussed above, Judge Polster rejected Defendants’ arguments

concerning a too-attenuated causal chain, observing, “the relationship between

Plaintiffs’ injury and Defendants’ alleged conduct . . . is not too remote to support a

finding of proximate cause here.” 1:17-md-02804, Dkt. 1203, at 9-10. Most recently,

Judge Breyer rejected similar causation arguments. (Ex. 37 at 69-80). The vast

majority of opioid litigation courts around the county are in accord. See supra, fn. 4.

       Defendants argue that City of Charleston, W. Virginia v. Joint Comm’n,

requires a finding of no proximate cause here. 2020 WL 4116952 (S.D.W. Va. July

20, 2020). But that case actually supports Plaintiffs’ position. In City of Charleston,

the Court determined that an accreditation commission’s conduct—issuing false

“pain management standards”—is “too attenuated from the resulting harms and

influenced by too many intervening causes.” Id. at *26. However, the Court found

that a distributor’s conduct was not too attenuated. The Court expressly

distinguished Summit County on the grounds that the accreditation “defendants

had no role in . . . distributing . . . opioids.” Id. at *25. It is clear that had

distribution conduct been before it, the court—like the other West Virginia courts

discussed above—would have found proximate cause present.

                                      CONCLUSION

       Plaintiffs have ample evidence for each Defendant, to establish, at the very

least, a genuine issue of material fact on causation. There is no legal doctrine that

would limit Defendants’ liability for the consequences of their wrongful conduct.

Thus, summary judgment for lack of proximate causation must be denied.




                                              21
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 27 of 29 PageID #: 27580




Dated: October 6, 2020                    Respectfully submitted,

THE CITY OF HUNTINGTON                 CABELL COUNTY COMMISSION
/s/ Anne McGinness Kearse              /s/ Paul T. Farrell, Jr.
Anne McGinness Kearse                  Paul T. Farrell, Jr.
WVSB No. 12547                         WVSB Bar No. 7443
Joseph F. Rice                         FARRELL LAW
MOTLEY RICE LLC                        422 Ninth Street, 3rd Floor (25701)
28 Bridgeside Blvd.                    PO Box 1180
Mount Pleasant, SC 29464               Huntington, West Virginia 25714-1180
Tel: 843-216-9000                      Mobile: 304-654-8281
Fax: 843-216-9450                      paul@farrell.law
akearse@motleyrice.com
jrice@motleyrice.com                   /s/ Anthony J. Majestro
                                       Anthony J. Majestro
Linda Singer                           WVSB No. 5165
David I. Ackerman                      POWELL & MAJESTRO, PLLC
MOTLEY RICE LLC                        405 Capitol Street, Suite P-1200
401 9th Street NW, Suite 1001          Charleston, WV 25301
Washington, DC 20004                   304-346-2889 / 304-346-2895 (f)
Tel: 202-232-5504                      amajestro@powellmajestro.com
Fax: 202-386-9622
lsinger@motleyrice.com
dackerman@motleyrice.com               Michael A. Woelfel
                                       WVSB No. 4106
                                       WOELFEL AND WOELFEL, LLP
Charles R. “Rusty” Webb
                                       801 Eighth Street
WV No. 4782                            Huntington, West Virginia 25701
THE WEBB LAW CENTRE                    Tel. 304.522.6249
716 Lee Street, East                   Fax. 304.522.9282
Charleston, West Virginia 25301        mikewoelfel3@gmail.com
Telephone: (304) 344-9322
Facsimile: (304) 344-1157
rusty@rustywebb.com
On Brief:

Tara D. Sutton
Eric M. Lindenfeld
ROBINS KAPLAN LLP
800 Lasalle Avenue, Suite 2800
Minneapolis, MN 55402
Tel: 612-349-8500
Fax: 612-339-4181
tsutton@robinskaplan.com
elindenfeld@robinskaplan.com


                                     22
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 28 of 29 PageID #: 27581




Lou Bograd
MOTLEY RICE LLC
401 9th Street NW, Suite 1001
Washington, DC 20004
Tel: 202-232-5504
Fax: 202-386-9622
lbograd@motleyrice.com

Anthony J. Majestro
WVSB No. 5165
POWELL & MAJESTRO, PLLC
405 Capitol Street, Suite P-1200
Charleston, WV 25301
304-346-2889 / 304-346-2895 (f)
amajestro@powellmajestro.com

Paulina do Amaral
LIEFF, CABRASER, HEIMANN &
BERNSTEIN, LLC
250 Hudson Street, 8th Floor
New York, NY 10013
Tel: 212-355-9500
Fax: 212-355-9592
pdoamaral@LCHB.com




                                     23
Case 3:17-cv-01362 Document 1080 Filed 10/06/20 Page 29 of 29 PageID #: 27582




                           CERTIFICATE OF SERVICE

      I certify that on October 6, 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system. This filing

will also be served on all parties by email to:

Track2OpioidDefendants@ReedSmith.com and CT2_Opioid_Team@mail-list.com.




                                                  /s/ Anthony J. Majestro




                                           24
